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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 SUN VALLEY ORCHARDS, LLC,

                  Plaintiff,

         v.                                    Case No. 1:21-cv-16625-JHR-MJS

 U.S. DEPARTMENT OF LABOR, et al.,

                  Defendants.



                                        ORDER
      Defendants’ motion for a five-page extension of their reply brief is hereby

GRANTED. Good cause appearing, it is hereby ORDERED that Defendants’ reply in

support of their motion to dismiss/cross-motion for summary judgment shall be due by

June 15, 2022 and shall be no longer than 25 pages using 12-point proportional font.

SO ORDERED.


Dated: June 14, 2022                           ________________________________
                                               Hon. Joseph H. Rodriguez, U.S.D.J.
